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                                5   Attorneys for Defendant
                                    Jose Luis Romero
                                6

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                                8                                    IN THE UNITED STATES DISTRICT COURT

                                9                                   FOR THE EASTERN DISTRICT OF CALIFORNIA

                               10

                               11   UNITED STATES OF AMERICA,                            ) Case No. 2:18-CR-00081-TLN
                                                                                         )
                               12                      Plaintiff,                        ) STIPULATION AND ORDER RESETTING
                                                                                         ) SENTENCING AND DISCLOSURE DATES
                               13          v.
BARTH DALY LLP




                                                                                         )
           ATTORNEYS AT LAW
           DAVIS, CALIFORNIA




                                                                                         )
                               14   JOSE LUIS ROMERO,                                    )
                               15                                                        )
                                                                                         )
                                                       Defendant.
                               16                                                        )
                                                                                         )
                               17                                                        )

                               18           Defendant, Jose Luis Romero, by his counsel of record, requests the current sentencing date in
                               19   this case be vacated and re-set to October 10, 2019. The US Attorney’s office has no objection to the
                               20   request or the proposed dates. The defense requests the following disclosure schedule:
                               21                      Judgment and Sentencing:                     October 10, 2019
                               22                      Reply or Statement of Non-Opposition:        October 3, 2019
                               23                      Formal Objections:                           September 26, 2019
                               24                      Final PSR Filed With the Court:              September 19, 2019
                               25                      Informal Objections:                         September 12, 2019
                               26                      The Draft PSR Disclosed to Counsel:          August 29, 2019
                               27   ///
                               28   ///

                                          __________________________________________________________________________________________________
                                    RESET SENTENCING                                                                       [Case No. 2:18-CR-00081-TLN]
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                                1           United States Probation Officer Phil Mizutani has no objection to the above dates.

                                2                                             Respectfully submitted,

                                3   Dated: July 15, 2019.                     BARTH DALY LLP

                                4
                                                                              By     /s/ Kresta Nora Daly
                                5                                                     KRESTA NORA DALY

                                6   Dated: July 15, 2019.
                                                                              By     /s/ Kresta Nora Daly
                                7                                                      TIMOTHY DELGADO
                                                                                      Assistant United States Attorney
                                8

                                9

                               10                                                     ORDER

                               11           Good cause appearing, the judgment and sentencing date currently set is hereby vacated and

                               12   re-set to October 10, 2019. The following disclosure schedule is adopted:

                               13                      Judgment and Sentencing:                    October 10, 2019, at 9:30 a.m.
BARTH DALY LLP
           ATTORNEYS AT LAW
           DAVIS, CALIFORNIA




                               14                      Reply or Statement of Non-Opposition:       October 3, 2019

                               15                      Formal Objections:                          September 26, 2019

                               16                      Final PSR Filed With the Court:             September 19, 2019

                               17                      Informal Objections:                        September 12, 2019

                               18                      The Draft PSR Disclosed to Counsel:         August 29, 2019

                               19           IT IS SO ORDERED.

                               20   Dated: July 16, 2019

                               21

                               22                                                              Troy L. Nunley
                                                                                               United States District Judge
                               23

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                               27

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                                         __________________________________________________________________________________________________
                                    RESET SENTENCING                                                                      [Case No. 2:18-CR-00081-TLN]
